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Exhibit A: CCP § 170.6
Challenge, Filed Feb. 9, 2021
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  A TTORN'EY OR PAR'Y V\llltlOIJT ATTORNEY (Name, Stato 88' nuTbe< and add""5)                          FOR COURT USE OHL 'I'
  Robert Emert
  2351 Vista Lago Terrace
  Escondido, CA 92029
  Self Represented
            TELEPHONE NO 760-612-9328                                 FNJ.NO(Opllonal)
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  El,IAIL ADDRESS (Opt.ooat) robemert@msn.com

     ATTORNEY ,OR (Nomo~ Self
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                                                                                                        FEB O8 2021
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      PERI OR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
      CENTRAL DIVISION, CENTRAL COURTHOUSE, 1100 UNION ST.. SAN DIEGO, CA 92101
      CENTRAL DIVISION, HALL OF JUSTICE, 330 W. BROADWAY SAN DIEGO, CA 92101



  ~
      CENTRAL DIVISION, KEARNY MESA, 8950 CLAIREMONT MESA BLVD., SAN DIEGO. CA 92123                  By:
      CENTRAL DIVISION, JUVEN)LE COURT. 2851 MEADOW LARK OR .. SAN DIEGO. CA 92123
      NORTH COUNTY DIVISION. 325 S. MELROSE DR.. VISTA CA 92081
      EAST COUNTY DIVISION. 250 E. MAIN ST.. EL CAJON. CA 92020
      SOUTH COUNTY DIVISION 500 3RD AVE. CHULA VISTA CA 91910
  PLAINTIFF(S)/PETITIONER(S)
  Andrea Emert
  DEFENOANT(S)IRESPONDENT(S)                                                                 JUDGE
  Robert Emert                                                                               Honorable Patti Ratekin
  IN TI-E MATTER OF                                                                          DEPT

 marriage of emert                                                                           NC19
                                                                                             CASE NUMBER
                                       PEREMPTORY CHALLENGE
                                                                                             19FL010652N

 _  be_rt_ E_m..ce_rt_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ , is 18] a party O an attorney for a party in the
 R_o_
 above-entitled case and declares that Commissioner Patti C. Ratekin_ _ _ _ _ _ _ _ _ , the judicial officer to
 whom this case is assigned, is prejudiced against the party or the party's attorney or the interests of the party or the party's
 attorney such that the said party or parties believe{s) that a fair and impartial trial or hearing cannot be had before suc h
 judicial officer.


 WHEREFORE, pursuant to the provisions of Code Civ. Proc. §170.6, I respectfully request that this court issue its order


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 I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

 Date: 02/08/21_ _ _ _ _ __                                                                    u6~
                                                                                                                                 Signature

                                                                                 ORDER

 0 GRANTED - The court finds the challenge is timely filed and the party's/attorney's above statement meets the
      requirements of Code of Civ. Proc. §170.6 {a){4). The case will be reassigned and a notice will be mailed to the parties


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 IT IS SO ORDERED.

 Date: ___._F__
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                      9 _20_ 2_
                              1 __
                                                                                         ~Commissioner of the Superior Court
                                                                                                       PATTI AATEKIN
 Date: _ _ _ _ _ __ _ __                                  Case is reassigned to Judge/Commissioner _ _ _ _ _ _ _ __ __

 sosc ADIA,381 (New 6119)                                        PEREMPTORY CHALLENGE                                   COdeCiv Pm<§ 1706
